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                             UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



ATCHAFALAYA BASINKEEPER,
LOUISIANA CRAWFISH PRODUCERS
ASSOCIATION-WEST, GULF RESTORATION                                           CIVIL ACTION
NETWORK, WATERKEEPER ALLIANCE, AND
SIERRA CLUB AND ITS DELTA CHAPTER
VERSUS                                                                       18-23-SDD-EWD


U.S. ARMY CORPS OF ENGINEERS


                                              RULING

         This matter is before the Court on the second Motion for Preliminary Injunction1

filed by Plaintiffs, Atchafalaya Basinkeeper, Louisiana Crawfish Producers Association-

West, Gulf Restoration Network, Waterkeeper Alliance, and Sierra Club and its Delta

Chapter (“Plaintiffs”).     Plaintiffs seek an injunction from the Court to prevent alleged

irreparable harm to the Atchafalaya Basin based on Plaintiffs’ claim that Bayou Bridge is

violating key provisions of the permit by continuing construction in the Basin even though

conditions in the Basin are in flood stage.2

         A preliminary injunction is an “extraordinary and drastic remedy” that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.3 A plaintiff



1
  Rec. Doc. No. 179.
2
  Rec. Doc. No. 179-1.
3
  Munaf v. Geren, 553 U.S. 674, 689, 128 S.Ct. 2207, 171 L.Ed.2d 1 (2008).
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seeking a preliminary injunction must establish (1) a substantial likelihood of success on

the merits; (2) a substantial threat of irreparable injury if the injunction is not granted; (3)

that the substantial injury outweighs the threatened harm to the party whom the plaintiff

seeks to enjoin; and (4) that granting the preliminary injunction will not disserve the public

interest.4

         This Court previously granted a preliminary injunction on Plaintiffs’ motion staying

the construction in the Basin,5 and the Court denied the Motion to Stay Preliminary

Injunction Pending Appeal by the Corps and Bayou Bridge.6 The Corps and Bayou Bridge

took an appeal, and the Fifth Circuit reversed both the stay of construction pending

appeal7 and this Court’s Ruling granting Plaintiffs’ preliminary injunction, finding that

Plaintiffs had not demonstrated a likelihood of success on the merits.8

         In the present motion, Plaintiffs maintain that the flooding issue and alleged

violations of the permit were not before the Fifth Circuit on appeal, and the Fifth Circuit

did not address these claims in its Opinion; therefore, this issue is ripe for adjudication

before the Court. The record belies this contention.

         In response to Plaintiffs’ brief filed with the Fifth Circuit,9 Appellant Bayou Bridge

moved to supplement the record with a declaration,10 and the Fifth Circuit granted this


4
  Planned Parenthood Ass'n of Hidalgo Cty. Tex., Inc. v. Suehs, 692 F.3d 343, 348 (5th Cir. 2012); accord
Canal Auth. of Fla. v. Callaway, 489 F.2d 567, 572 (5th Cir. 1974).
5
  Rec. Doc. No. 86.
6
  Rec. Doc. No. 96.
7
  Case No. 18-30257, Doc. No. 00514388428.
8
  Rec. Doc. No. 126.
9
  Case No. 18-30257, Doc. No. 00514428039.
10
   Case No. 18-30257, Doc. No. 00514438746.
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motion.11 In Plaintiffs’ appellate brief, they claimed that “construction in the Basin has not

resumed due to high water conditions that are likely to persist for months.”12            The

declaration of Cary J. Farber, Project Manager for the Bayou Bridge Pipeline, addressed

the process of determining what water levels and conditions would be safe for

construction.13 Plaintiffs never responded to, or challenged, Bayou Bridge’s motion or

this declaration during the appeal. With this declaration as part of the appellate record,

the Fifth Circuit held that Plaintiffs had failed to demonstrate a likelihood of success on

the merits. Accordingly, this issue is not properly before the Court on a renewed motion

for a preliminary injunction.

         Plaintiffs also fails to satisfy the necessary showing of irreparable harm. The

record reflects that Plaintiffs complained to the Corps via letter about elevated water

levels and the potential permit violations at issue herein as far back as March 2018.14

Plaintiffs sent another letter to the Corps regarding the same issues on May 9, 2018, and

a “Supplemental Notice of Potential Permit Violations” dated June 1, 2018, which alleged

the same permit violations based on observations and measurements taken in May

2018.15 On January 4, 2019, Plaintiffs sent a “Third Notice of Potential Permit Violations”

to the Corps based on monitoring that had taken place in October 2018 and December

2018.16 Thus, at the time Plaintiffs filed the present motion on January 23, 2019, Plaintiffs


11
   Case No. 18-30257, Doc. No. 00514544184.
12
   Id. at 1.
13
   Case No. 18-30257, Doc. No. 00514438747, Farber Declaration.
14
   Rec. Doc. No. 177-2 at 8-9.
15
   Id. at 16-18.
16
   Id. at 23-31.
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had knowledge of these alleged permit violations and believed these alleged violations

were harming the Basin for nearly a year. This delay in bringing the pending motion

undermines Plaintiffs’ claims of urgency and irreparable harm.

         “[D]elay in seeking a remedy is an important factor bearing on the need for a

preliminary injunction. Absent a good explanation, a substantial period of delay militates

against the issuance of a preliminary injunction by demonstrating that there is no apparent

urgency to the request for injunctive relief.”17 Wright and Miller recognizes that “[a] long

delay by plaintiff after learning of the threatened harm also may be taken as an indication

that the harm would not be serious enough to justify a preliminary injunction.”18 The Court

finds that the delay between knowledge of the harm and the filing of this motion

undermines the urgency of the request.19                     Additionally, it is undisputed that the

construction in the Basin is near completion, and the request for relief may already be

moot.




17
   Gonannies, Inc. v. GoAuPair.Com, Inc., 464 F.Supp.2d 603, 609 (N.D. Tex. 2006) (quoting Wireless
Agents, L.L.C. v. T–Mobile USA, Inc., 2006 WL 1540587, *3 (N.D. Tex. June 6, 2006) (internal citations
and punctuation omitted)).
18
   11A Charles A. Wright, Arthur R. Miller, et al., Federal Practice and Procedure, § 2948.1 (3d ed. 2018).
19
   See Gonannies, 464 F.Supp.2d at 609 (citing Tough Traveler, Ltd. v. Outbound Prod., 60 F.3d 964, 968
(2d Cir. 1995) (vacating preliminary injunction where movant waited four (4) months to seek a preliminary
injunction after filing suit); Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985) (ten (10) week delay
in seeking injunction for trademark infringement undercut claim of irreparable harm); Boire v. Pilot Freight
Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975) (affirming district court's denial of temporary injunctive
relief where movant, among other things, delayed three (3) months in making its request) (descriptions of
authority quoted from Gonannies )).
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          Accordingly, Plaintiffs’ Second Motion for Temporary Restraining Order20 is

DENIED.        
          IT IS SO ORDERED.

          Baton Rouge, Louisiana, the 7th day of February, 2019.



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                                           ____________________________________
                                           SHELLY D. DICK
                                           CHIEF DISTRICT JUDGE
                                           MIDDLE DISTRICT OF LOUISIANA




20
     Rec. Doc. No. 179.
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